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  8                       UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10
 11   BKK WORKING GROUP, et al.,              Case No. CV 18-5810-MWF(PLAx)
 12                    Plaintiffs,             ORDER GRANTING
                                               STIPULATION RE: CASE
 13              vs.                           MANAGEMENT ORDER NO. 2
 14   1700 SANTA FE LTD, et al.,
 15                    Defendants.
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                                                       ORDER GRANTING STIPULATION RE:
                                                         CASE MANAGEMENT ORDER NO. 2
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  1         The Court enters this Case Management Order No. 2 (“CMO No. 2”) as
  2   follows:
  3   A.    VACATED DEADLINES IN CASE MANAGEMENT ORDER NO. 1
  4         To facilitate the selection of Defendants’ liaison counsel and other case
  5   management matters, the following deadlines in Case Management Order No. 1
  6   (“CMO No. 1”) are hereby vacated:
  7         i.     December 20, 2024: Deadline for Notice of Establishment of
  8                Defendants’ Leadership Counsel
  9         ii.    January 6, 2025: Deadline for Parties to meet and confer regarding
 10                further Case Management Order
 11         iii.   February 19, 2025: Coordinated Answer to Amended Complaint or
 12                Coordinated Rule 12 Motions Due
 13         iv.    February 19, 2025: Defendant Separate Statement of Affirmative
 14                Defenses Due
 15         v.     April 20, 2025: Lifting of Discovery Stay
 16   B.    ORGANIZATION OF DEFENDANTS
 17                1.    Defendants’ Notices of Appearance. Within 21 days of the date
 18   of entry of this CMO No. 2, Plaintiffs shall notify by mail or email all served
 19   Defendants (or their counsel, if known) that have not settled of this CMO No. 2.1
 20   Defendants so notified shall file notices of appearance within 30 days of being so
 21   notified.2
 22                2.    Interim Defense Counsel. Loeb & Loeb LLP shall serve as
 23   interim liaison counsel (“Liaison Counsel”) in this case until such time as counsel
 24   1
        As to those Defendants for whom service has been effectuated through the
 25   California Secretary of State, service shall be by mail to the address listed in the
      Defendant’s Certificate of Surrender, if available on the California Secretary of
 26   State’s website; otherwise, service shall be made upon the Secretary of State. Those
      defendants that have agreed to settle are not required to file notices of appearance
 27   while they await finalization of their settlements.
      2
        The filing of a notice of appearance shall not constitute a waiver of any objection
 28   to personal jurisdiction or venue or waiver of any other defenses.
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  1   for Defendants meet and agree upon other Liaison Counsel. The right of each party
  2   to be represented by its own counsel is hereby expressly preserved.
  3         Liaison Counsel shall have authority to:
  4         i.     Call meetings of Defendants’ counsel;
  5         ii.    Appear for and speak on behalf of Defendants concerning common
  6                issues at any pretrial conference subject to consultation with
  7                Defendants and except to the extent a Defendant has advised that
  8                Liaison Counsel may not speak on such Defendant’s behalf at such
  9                pretrial conference;
 10         iii.   Conduct pretrial proceedings on behalf of Defendants concerning
 11                common issues subject to consultation with Defendants and except to
 12                the extent a Defendant has advised Liaison Counsel it may not conduct
 13                such proceedings on behalf of such Defendant;
 14         iv.    Sign and file pleadings, including answers, affirmative defenses,
 15                motions, briefs, discovery requests, objections, or notices
 16                (“Pleadings”) on behalf of all Defendants or those Defendants filing
 17                the particular pleadings, subject to consultation with Defendants. Any
 18                Defendant may opt-out of any Pleading;
 19         v.     Brief and argue motions on behalf of Defendants subject to
 20                consultation with Defendants and except to the extent a Defendant has
 21                advised Liaison Counsel it may not file such brief or argue a motion
 22                on behalf of such Defendant; and
 23         vi.    Retain experts on behalf of Defendants subject to consultation with
 24                Defendants.
 25         Liaison Counsel shall have the following responsibilities:
 26         i.     Distribute to Defendants’ counsel those materials that they need to
 27                review to form and communicate their views regarding discovery,
 28
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  1                  motion practice, and settlement;
  2           ii.    Confer with Defendants’ counsel to obtain their views regarding
  3                  discovery, motion practice, experts, and settlement;
  4           iii.   Communicate with the Court regarding any issues that need to be
  5                  addressed on behalf of Defendants to the Court subject to consultations
  6                  with the Defendants and except to the extent a Defendant has advised
  7                  that Liaison Counsel may not speak on such Defendant’s behalf
  8                  concerning any issues;
  9           iv.    Coordinate the taking of discovery that the Court authorizes; and
 10           v.     Meet, as appropriate, with Plaintiffs’ counsel to discuss coordination
 11                  of discovery, scheduling matters, status conferences, motions, and
 12                  settlement discussions and to communicate with Plaintiffs’ counsel on
 13                  behalf of Defendants on common issues and to act in furtherance of
 14                  Defendants’ collective interests subject to consultation with
 15                  Defendants.
 16           Service as Liaison Counsel shall not create an attorney-client relationship
 17   duty of loyalty or any professional, ethical, or legal obligations between any firm
 18   serving in such capacity and any party other than its own clients. On or before
 19   March 24, 2025, Defendants shall establish their leadership structure, including
 20   appointment of Defense Liaison Counsel and any other leadership positions or
 21   committees as they deem appropriate, and notify the Court and Plaintiffs of the
 22   same.
 23                  3.    Defense Fund. Simultaneously with filing their appearance, each
 24   Defendant, or, where a corporation has more than one subsidiary or related entity
 25   named as a defendant in the above-captioned action or in the action entitled BKK
 26   Working Group, et al. v. Albertsons Companies, Inc., et al., Case No. CV 18-5836-
 27   MWF(PLAx), that corporation, shall pay $1,000 into a fund to be maintained by
 28
                                                              ORDER GRANTING STIPULATION RE:
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  1   Loeb & Loeb LLP (the “Common Fund”) to pay for joint defense costs including
  2   costs and fees incurred by Liaison Counsel to fulfill its responsibilities under this
  3   Order. The payments either be mailed to:
  4         Loeb & Loeb LLP
            10100 Santa Monica Blvd., Suite 2200
  5
            Los Angeles, CA 90067
  6         Attn: Brandi White
            For: BKK Litigation Common Fund – 1700 Santa Fe3
  7
  8         Or sent by wire to:
  9         Bank Name:                        City National Bank
            Bank Branch:                      Century City Private Client Services #673
 10
            Bank Address:                     2029 Century Park East, Suite 100
 11                                           Los Angeles, CA 90067
            Account Name:                     Loeb & Loeb LLP - General Account
 12
            Account Number:                   210034722
 13         Routing/ABA Number                122016066
 14
 15         Please reference BKK Litigation Common Fund – 1707 Santa Fe – 244543A
 16   and the name of the Defendant and send payment details to epayment@loeb.com
 17   and bwhite@loeb.com.
 18         4.     Work undertaken as Liaison Counsel will be billed separately from
 19   work completed on behalf of Liaison Counsel’s clients. Liaison Counsel will
 20   provide Defendants with regular invoices identifying tasks performed and costs
 21   incurred and will provide an accounting of fees and costs upon reasonable request
 22   by any Defendant.
 23   C.    MEET AND CONFER
 24         No later than April 11, 2025, Plaintiffs and Defendants shall meet and confer
 25   on a further Case Management Order.
 26
 27   3
       A W-9 is attached as Exhibit 1. For accounting purposes, the mailing of checks is
 28   preferred.
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  1   D.     PLEADINGS
  2          Defendants’ responsive pleadings shall be filed in accordance with CMO No.
  3   1, Section (D)(2). The deadline for all responsive pleadings, including a single
  4   Coordinated Answer, individual Statements of Affirmative Defenses, and
  5   coordinated motions pursuant to Rule 12(b), (e) or (f), is May 12, 2025. The
  6   deadline for responsive pleadings may be extended to allow the Parties to engage in
  7   alternative dispute resolution.
  8   E.     DISCOVERY
  9          The discovery stay currently imposed by CMO No. 1 will remain in place
 10   until July 14, 2025, or further order of the Court. The Parties may, at their
 11   discretion, agree to an exchange of information to facilitate settlement discussions
 12   prior to the lifting of the stay.
 13   F.     PRIVILEGES PRESERVED
 14          All information or documents exchanged among and between the individual
 15   members of Plaintiff BKK Working Group (“BWG”) and/or their counsel relating
 16   to the litigation is communication for the purpose of assisting in a common cause
 17   and shall not constitute a waiver of any attorney-client communication, attorney
 18   work product, trade secret, or other privilege or protection.
 19          Similarly, all information or documents exchanged among and between
 20   Liaison Counsel and individual defense counsel and among and between
 21   Defendants’ counsel relating to the litigation is communication for the purpose of
 22   assisting in a common defense and shall not constitute a waiver of any attorney-
 23   client communication, attorney work product, trade secret, or other privilege or
 24   protection.
 25          All such exchanges will be treated as not admissible into evidence in
 26   accordance with the terms of Fed. R. Evid. 408.
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  1   G.    CASE MANAGEMENT SCHEDULE
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  3    21 days following the entry   Deadline for Plaintiffs to notify Defendants of
       of CMO No. 2                  entry of CMO No. 2 via email or mail
  4
  5    30 days following             Deadline for Defendants to file notice of
       Defendants’ receipt of notice appearance
  6    of entry of CMO No. 2
  7
       March 24, 2025                Deadline for Defendants to establish leadership
  8                                  structure and notify the Court and Plaintiffs of
                                     same
  9
 10    April 11, 2025                Deadline for Parties to meet and confer regarding
                                     further CMO
 11
 12    May 12, 2025                  Responsive Pleadings due

 13    July 14, 2025                 Lifting of Discovery Stay
 14
            Except as expressly set forth above, CMO No. 2 shall not be construed to
 15
      modify CMO No. 1.
 16
            IT IS SO ORDERED.
 17
 18
 19   Dated: December 23, 2024
                                               MICHAEL W. FITZGERALD
 20                                            United States District Judge
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                                                          ORDER GRANTING STIPULATION RE:
                                               7            CASE MANAGEMENT ORDER NO. 2
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